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                         In the United States District Court
                             Eastern District of Missouri
                                   Eastern District

Mary Corso,                                 )
                                            )
         Plaintiff,                         )
                                            )
v.                                          )      Cause No. ________________
                                            )
US Bank, National Association,              )
                                            )
                                            )
         Defendant.                         )

                                   Complaint
           Discrimination under the Americans with Disability Act and
                                    Title VII


         COMES NOW Plaintiff Mary Corso, by and through counsel, and for her

cause of action against Defendant US Bank., states and alleges as follows:

                           JURISDICTION AND VENUE


         1. This action arises under Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e-2(a)(1), and the Americans with Disability Act, 42 U.S.C. §12101

et. seq. (“ADA”). Jurisdiction of this Court is invoked pursuant to 28 U.S.C.

§1343.


         2. Venue is proper because the unlawful acts alleged in this Complaint

were committed within the jurisdiction of the United States District Court, Eastern

District of Missouri, Eastern Division.

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                                     PARTIES

       3. Plaintiff is a female citizen of the United States and the state of

Missouri. She is a resident of the Eastern District of Missouri.

       4. Defendant is a corporation who, at all relevant times, was authorized to

do business within the Eastern District of Missouri.

       5. At all material times to this action, Defendant engaged in an industry

affecting commerce. Defendant has employed twenty (20) or more employees for

each working day of twenty or more calendar weeks. Defendant is therefore “an

employer” within the meaning of Title VII, and the ADA.

                      ADMINISTRATIVE PROCEDURES

       6. Plaintiff filed a timely charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”) on or about January 15, 2020.

       7. Thereafter, Plaintiff received a “Notice of Right to Sue” from the EEOC

on March 19, 2020, and she has initiated this action within ninety (90) days of

receipt thereof.


                     FACTS COMMON TO ALL COUNTS

       8. Defendant holds itself out to the public as an equal opportunity

employer committed to the letter and spirit of all laws and regulations that govern

the workplace.

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       9. Defendant provided training and guidance to its managers regarding

compliance with anti-discrimination laws and regulations.

       10. Plaintiff is over the age of forty and employed by US Bank as a full-

time Data Analytics 4 position in the Mortgage Analytics and Data Science Team

in Earth City, Mo.

       11. Plaintiff has worked for the company since 2008 with good work

performance.

       12. After a meeting on July 11, 2019, Plaintiff complained to Human

Resources about age and sex discrimination by a manager, Scott Schenck.

       13. The response to Plaintiff's complaint of discrimination to Human

Resources was that they investigated the incident and did not believe there was

any discrimination because Schenck called her and apologized for the abusive

comments he made to Plaintiff and Cassie Cundiff.

       14. On August 25, 2019, Plaintiff suffered a stroke that has left her

disabled with impaired vision where she cannot work under particular kind of

lighting that causes significant headaches that render her incapable of functioning,

and she has decreased circulatory function that makes her body more susceptible

to a stroke or other heart conditions.

       15. Before Plaintiff was set to return to work in November, she asked for a

reasonable accommodation for her disability. The requested reasonable


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accommodation was that she work from home full-time so that she could manage

the lighting situation and continue to work. Plaintiff's request was denied.

       16. Plaintiff was told by her immediate supervisor, Kim Wilson, that

Schenck threatened to deny Plaintiff use of earned vacation time to bridge her

return to work.

       17. Plaintiff complained to HR on November 20, 2019, about the failure to

grant her requested accommodation, and the threat to her use of vacation time.

She told HR that she had made an appointment to meet with the EEOC to file a

Charge. Plaintiff also asked HR to investigate her complaint about the failure to

grant her request for a reasonable accommodation of her disability.

       18. Defendant allowed Schenck to deny Plaintiff's request to work from

home full-time as an accommodation of her disability despite the fact that Schenck

allowed two men (Scott Bishop and Roy Lambert) to work from home and denied

a woman (Wei Ling) the ability to work from home, which Plaintiff believes

points to sex discrimination as well as the unlawful retaliation.

     COUNT I - ADA – DENIAL OF REQUEST FOR A REASONABLE
                ACCOMMODATION OF A DISABILITY

       19. Plaintiff incorporates by reference paragraph numbers three through
eighteen.

       20. Defendant is engaged in an industry affecting commerce within the

meaning of the ADA.


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       21. Defendant is an employer within the meaning of the ADA.

       22. Defendant employs more than 500 employees.

       23. Plaintiff is a qualified person with a disability in that the major life

activity of seeing is impaired because of the problems with her bodily function of

circulatory function hat caused a stroke and the impairment of her eyesight, which

makes it painful for her to work under certain lighting conditions.

       24. Plaintiff provided all of the medical documentation from her doctor

required by Defendant's policy that allows employees to work from home.

       25. Plaintiff requested to work from home as a reasonable accommodation

of her disability that impacted her eyesight because at home she can work under

the right kind of light that will not cause her pain and consequently will allow her

to perform her job.

       26. Defendant denied her request for a reasonable accommodation.

       27. Defendant’s conduct was and is in violation of the ADA.

       28. Plaintiff further alleges that the Defendant’s conduct as herein alleged

has caused Plaintiff to lose wages and other benefits of employment and to suffer

embarrassment, humiliation, loss of professional reputation, physical and

emotional distress.

       29. Defendant’s conduct was taken with reckless indifference to the

protected rights of Plaintiff.


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       WHEREFORE, on Count I, Plaintiff requests a jury trial and that this Court

enter judgment in her favor and against Defendant declaring that Defendant has

engaged in unlawful employment practices with respect to Plaintiff by Defendant's

refusal to reasonably accommodate Plaintiff’s disability under the ADA with the

intent of making Plaintiff's working conditions so intolerable that she would quit;

that Plaintiff be compensated for all losses and damages suffered as a result of

Defendant's conduct, including, but not limited to, compensatory and punitive

damages, past and future lost income, past and future lost retirement income, and

other financial benefits of employment; that Plaintiff be awarded prejudgment

interest on lost wages and benefits of employment; that Defendant be enjoined

from engaging in the unlawful employment practices complained of herein; and

that Plaintiff be awarded attorney’s fees and costs reasonably expended on this

case and further relief as this Court deems appropriate under the circumstances.

             COUNT II – TITLE VII - SEX DISCRIMINATION

       30. Plaintiff re-alleges and incorporates herein by reference the allegations

contained in Paragraphs 3 through 29.

       31. Plaintiff was denied a reasonable accommodation for her disability

because of her sex in that men who requested the reasonable accommodation of

working from home under Defendant's policy were granted the request by

Defendant, but women like Plaintiff and Wei Ling were denied their request.


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       32. Defendant’s decision to deny Plaintiff her requested reasonable

accommodation is a violation of Title VII.

       33. Plaintiff further alleges that the Defendant’s conduct as herein alleged

has caused Plaintiff to lose wages and other benefits of employment and to suffer

embarrassment, humiliation, loss of professional reputation, physical and

emotional distress.

       34. Defendant’s conduct was taken with reckless indifference to the

protected rights of Plaintiff.

       WHEREFORE, on Count II, Plaintiff requests a jury trial and that this

Court enter judgment in her favor and against Defendant declaring that Defendant

has engaged in unlawful employment practices with respect to Plaintiff by

Defendant's refusal to grant her requested reasonable accommodation because of

her sex; that Plaintiff be compensated for all losses and damages suffered as a

result of Defendant's conduct, including, but not limited to, compensatory and

punitive damages, past and future lost income, past and future lost retirement

income, and other financial benefits of employment; that Plaintiff be allowed to

work from home; that Plaintiff be awarded prejudgment interest on lost wages

and benefits of employment; that Defendants be enjoined from engaging in the

unlawful employment practices complained of herein; and that Plaintiff be

awarded attorney’s fees and costs reasonably expended on this case and further


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relief as this Court deems appropriate under the circumstances.


                                         Respectfully submitted,

                                         GHIO LAW FIRM LLC




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